UN|TED STATES D|STR|CT COURT
EASTERN D|STR|CT OF W|SCONS|N
HON. Lynn Ade|man, presiding

SENTENC|NG M|NUTES
Dep. C|erk: J. Deitrich

DATE: 3\1\\'¢ ct. Reptr.: 9»\2*
CASE NO.: \`\ QQ`\B‘\ Time Ca||ed: \'.'l§
uNlTED sTATEs v. x-\~ v-\\\L \J~“-\o<.\( Time concluded \'.ss
United States By: M>As§\os

 

Probation Offlcer:

 

 

 

|nterpreter: E| Sworn
Deft. \`*\JL»€_\\AL_M_\>L&§>`_ in person, and by Attorney Ms.s§n&w$v\€v
Custody of Bureau of Prisons Supervised Re|ease/Probation

_ months on Count(s) _ _____ year(s) on Count(s) _

_ months on Count(s) _ __ year(s) on Count(s) _

to run concurrent|y/consecutiveiy

for a total of months

Court's recommendation to Bureau of
Prisons:

 

COND|T|ONS OF SUPERV|S|ON:

COUNT(S) D|SM|SSED on motion of Government:

 

F|NE: $ on Count(s)
Terms:

E| Fine waived or reduced due to defendant’s inability to pay.

E| interest on fine waived.

REST|TUT|ON: $ Payee:
Terms:

E| interest on restitution waived.
SPEC|AL ASSESSMENT: $

E| To be paid immediate|y.

E| Other:
FORFE|TURE:

 

CUSTOD¥ STATUS:
E| Defendant remanded to custody of U.S. Marsha|.
E| Execution of sentence stayed until _
E| Voluntary surrender to institution.

E| Defendant advised of right to appea|.

OTHER:

C (§18“9 §d-chSBY-|‘l"i:$éd OSB§/YBX B§©é~f~of§<%oc§m\eprt`§d,\\% § \" zd.

 

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STATEMENT OF REASONS

E| The Court adopts the factual findings and guideline application in the presentence report

Oi'

The Court adopts the factual findings and guideline application in the presentence report
except (§~» \*>Y g us \'\o¥ $w:t R <e`s{_

Advisory Guideiine Range Determined by the Court:

Total Offense Level: 53

Crimina| History Category: m

imprisonment Range : \§ to ] § months
Supervised Release Range: § to 3 years

Fine Range: $_S§gg_ to $_§5_`_§§§

Ei The sentence is within the guideline range.
or

E| The court departs from the guideline range

Ei Upon motion of the government, as a result of defendant's substantial assistance.
Ei For the following reason(s):

Oi'

Ei The court imposes a non-guideline sentence under 18 U.S.C. § 3553(a).

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